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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:14-cv-02887-JLK

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA and
DEMETRIO VALERGA
on their own behalf and on behalf of all others similarly situated,

        Plaintiffs,

v.

THE GEO GROUP, INC.,

        Defendant.


           DECLARATION OF ALEJANDRO HERNANDEZ TORRES
______________________________________________________________________

     1. My name is Alejandro Hernandez Torres. I am over eighteen years old. I have
        personal knowledge of the contents of this declaration.

     2. I was detained at the Aurora Detention Facility between approximately 4/3/2012
        and 8/3/2015. That facility is operated by The GEO Group. During my time in the
        Aurora Detention Facility, I worked for GEO.

     3. When I first arrived at the Aurora Detention Facility, I did not have a $1/day job in
        the voluntary work program. During that time, I had to work for no pay doing
        cleaning work in the common and private living areas. Every day, the guards
        would call on six of the detainees who didn’t have a job in the voluntary work
        program. Those six individuals had to clean. The people the guards chose would
        rotate so that everybody had to take a turn on the cleaning crew. None of us got
        paid anything for the work we did on the cleaning crews. If anyone refused to do
        this work, they would be put in segregation, or “the hole.” I know this because the
        guards told us that if anyone didn’t do the work, they’d be put in segregation and
        because during the time I was detained, I witnessed at least 10 people get put in
        segregation for refusing to do the pod cleaning work. I remember that Ricardo




Pl. Ex. 11
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      Tinoco, “Alex” (I don’t remember his last name), and Cesar Duran, among others
      were taken to segregation for refusing to do the unpaid cleaning work.

   4. From approximately from the end of 2012 to July, 2015, I worked for GEO in the
      voluntary work program. My job was to clean and wax the floors for GEO. They
      paid $1/day for that work. I asked various guards if GEO could pay more than $1
      per day. One guard, last name “Barajona” I believe, told me that GEO could only
      pay one dollar per day, no more.

   5. You apply for the jobs and GEO personnel interview, hire and supervise you. The
      GEO people determine when you work and for how long. The pay rate is the
      same for every detainee I know to have worked in that program. I have known
      many people who have worked all kinds of jobs in the voluntary work program. I
      normally worked five to seven hours per day. The pay for that work was always
      $1/day.

   6. I declare under penalty of perjury under the laws of the Unites States of America
      that the foregoing is true and correct.


Executed on this _11_th day of _April, 2016.




             /s/ Alejandro Hernandez Torres_____
             Alejandro Hernandez Torres
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